                      UNITED  STATES Document:
                      Case: 25-1555  COURT OF15APPEALS
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                                                                       04/11/2025

                                                    No. 25-1555

                           Atlas Data Privacy Corp. et al.    vs. We Inform, LLC et al.

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 Please OLVWthe names of all parties represented, using additional sheet(s) if necessary:

 Attorney General of New Jersey
Indicate the party’s role IN THIS COURT (check only one):

         ____ Petitioner(s)                ____ Appellant(s)                 ✔ Intervenor(s)
                                                                            ____

         ____ Respondent(s)                ____ Appellee(s)                 ____ Amicus Curiae

(Type or Print) CounseO’s Name Liza B. Fleming
                                ________________________________________________________________
                                    ____ Mr.     ✔ Ms.
                                               ____        ____ Mrs. ____ Miss ____ Mx.

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Additional E-Mail Address (3)

If your organization has created a common or general email address for purposes of receiving
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SIGNATURE OF COUNSEL: /s/ Liza B. Fleming

COUNSEL WHO FAIL TO FILE AN ENTRY OF APPEARANCE WILL NOT BE ENTITLED TO RECEIVE
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ATTORNEYS WHO ARE MEMBERS OF THIS COURT’S BAR OR WHO HAVE SUBMITTED A
PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

A non-government attorney who is not currently in active status will be required to file the Attorney
Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV. 
